   Case 2:24-cv-04538-CBM-JPR                 Document 26        Filed 05/23/25      Page 1 of 1 Page ID
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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         CV24-04538-CBM (JPRx)                                           Date   May 23, 2025
 Title            Zamperini Airfield Preservation Society v. City of Torrance, et al.




 Present: The                   Jean P. Rosenbluth, United States Magistrate Judge
 Honorable
                     Narissa Estrada                                         CS 5/23/2025
                       Deputy Clerk                                     Court Reporter / Recorder
                Attorney Present for Plaintiff:                     Attorneys Present for Defendants:
                  Stan M. Barankiewicz,II                                    Mark J. Dillon
                                                                           Patrick Q. Sullivan
                                                                               Yana Ridge



 Proceedings:                (In Court): Settlement Conference

       On May 23, 2025, the parties appeared before Magistrate Judge Rosenbluth for a
settlement conference. A complete settlement of the matter was reached and the agreed-upon material
terms of the settlement were recited on the record. Plaintiff will file a Notice of Settlement before the
District Judge by no later than May 27, 2025.




         cc: Judge Consuelo B. Marshall




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                                                              Initials of Preparer               nne


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